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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION




UNITED STATES OF AMERICA

v.                                                             CRIMINAL NO. 5:11cr7DCB-LRA

RICKY L. WEDGEWORTH


                                      ORDER

       This matter comes before the Court on the government's Motion for an Order Directing

Defendant Ricky L. Wedgeworth’s property recovered by law enforcement upon arrest , to wit:

forty-four dollars and fifty-two cents be applied to the defendant’s fine or court assessment fee in

a manner consistent with the law requiring payment. Having considered the motion, relevant

statutes, and jurisprudence on this point, and there being no objection by the parties, this Court

finds that the motion is granted. Accordingly,

       IT IS HEREBY ORDERED that the Defendant Ricky L. Wedgeworth’s property in the

amount of forty-four dollars and fifty-two cents be applied to the defendant’s fine or court

assessment fee in a manner consistent with the law requiring payment.

       SO ORDERED this the 4th day of June, 2013.



                                                        s/ David Bramlette
                                                      UNITED STATES DISTRICT JUDGE
